Order entered December 20, 2012

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                                   In The
                              Court of Appeals
                      Fifth District of Texas at Dallas

                             No. 05-12-01004-CR
                             No. 05-12-01005-CR

                   Quentarrius Deontray Baldwin, Appellant

                                     V.

                        The State of Texas, Appellee

              On Appeal from the 363rd Judicial District Court
                            Dallas County, Texas
               Trial Court Cause Nos. F11-54128-W, F11-54133-W

                                    ORDER

      The Court ORDERS the trial court to conduct  a  hearing  to  determine
why appellant's brief has not been filed.  In this regard, the  trial  court
shall make appropriate findings and recommendations  and  determine  whether
appellant desires to prosecute the appeals, whether appellant  is  indigent,
or if not indigent, whether retained  counsel  has  abandoned  the  appeals.
See Tex. R. App. P. 38.8(b).  If the trial court cannot  obtain  appellant's
presence at the hearing, the  trial  court  shall  conduct  the  hearing  in
appellant's absence.  See Meza v. State, 742 S.W.2d  708  (Tex.  App.-Corpus
Christi 1987, no pet.) (per curiam).  If appellant is  indigent,  the  trial
court is ORDERED to take  such  measures  as  may  be  necessary  to  assure
effective representation, which may include appointment of new counsel.
      We ORDER the trial court to transmit  a  record  of  the  proceedings,
which shall include written findings  and  recommendations,  to  this  Court
within THIRTY DAYS of the date of this order.
      The appeals are ABATED to allow the trial court  to  comply  with  the
above order.  The appeals shall be reinstated thirty days from the  date  of
this order or when the findings are received, whichever is earlier.



                                       /s/   DAVID L. BRIDGES
                                             JUSTICE

